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                             UNITED STATES DISTRICT COURT
7
                         CENTRAL DISTRICT OF CALIFORNIA
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10    NATHAN R.,                                    Case No. EDCV 19-1726-KK
11                              Plaintiff,
12                       v.                         JUDGMENT
13    ANDREW SAUL, Commissioner of
      Social Security,
14
                                Defendant.
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16
17         Pursuant to sentence four of 42 U.S.C. § 405(g), IT IS ADJUDGED that the
18   decision of the Commissioner of the Social Security Administration is AFFIRMED.
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20    Dated: June 30, 2020
21                                             HONORABLE KENLY KIYA KATO
                                               United States Magistrate Judge
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